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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division


GULET MOHAMED,

                      Plaintiff,
               V.                                    Civil Action No. 1:11-cv-50 (AJT/TRJ)

ERIC H. HOLDER, JR., et ai.

                      Defendants.



                                             ORDER



       Presently pending are Defendant's Motion to Dismiss [Doc. No. 104] and Plaintiffs

Motion to Compel [Doc. No. 91]. By Order dated September 15,2014 [Doc. No. 139], the Court

required the defendants to submit certain documents listed on its privilege log as privileged

under the state secrets privilege and law enforcement privilege. On October 17, 2014, the

defendants submitted the documents in camera, ex parte, as required. The Court has reviewed

those documents and based on that review has concluded as follows:


       1. Certain of the submitted documents appear to contain confidential, security sensitive

information that may fall appropriately within a law enforcement privilege. However, the

information presented to date by the defendants in support of the state secrets privilege as to

these documents is insufficient to allow the Court to conclude that "there is a reasonable danger"

that disclosure of these documents to at least the plaintiffs counsel, under the protections of an

adequate protective order, would disclose information that would "expose military matters

which, in the interest of national security, should not be divulged." U.S. v. Reynolds, 345 U.S. 1,

10(1953).
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       2. None of the documents are so related to plaintiffs procedural due process claims as to

prevent either the plaintiff or the defendant from presenting or defending against those claims

without the use of any of these documents, particularly in light of the public declarations

submitted by the defendants, which describe in detail the procedures used in connection with the

placement of an individual on the No Fly List. In this regard, the state secrets privilege is a

judicially created rule of evidence, not a doctrine of sovereign immunity or non-justiciability,

whose applicability and consequences, where applicable, are best considered within a specific

context during the actual adjudication of any claims to which it may apply. '
       3. Based on the above determinations, there is no need at this time for the Court to rule

definitively on the state secrets privilege as it applies to these documents, since it appears to the

Court that the case may proceed to a final adjudication of the procedural due process claims

without such a ruling. Likewise, it appears to the Court that the plaintiff has no need for these

documents to adequately present its procedural due process claims, a view the plaintiff himself

has espoused. Nevertheless, to the extent that the defendants contend during the actual

adjudication of these claims, within the context of either summary judgment or any evidentiary

hearing, that it cannot adequately defend against such claims without the use of a specific




' This approach may be particularly appropriate where an applicable state secrets privilege would
need to be reconciled with any Congressional mandate to provide "a timely and fair process"
for individuals affected by the No Fly List, including an opportunity to "correct information
contained in the system." See 49 U.S.C.A. § 44926(a) ( "[t]he Secretary of Homeland Security
shall establish a timely and fair process for individuals who believe they have been delayed or
prohibited from boarding a commercial aircraft because they were wrongly identified as a threat.
..") and 49 U.S.C. § 44903(j)(2)(C)(iii)(I) (requiring that there be an opportunity for a passenger
prohibited from boarding an aircraft "to correct information contained in the system"). See also
In re NSA Telecomms Records Litig., 564 F. Supp. 2d 1109, 1121 (N.D. Cal. 2008) (finding that
the Foreign Intelligence Surveillance Act (FISA) preempts and displaces the state secrets
privilege for the purposes of plaintiffs claims).
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document claimed to be protected under the state secrets privilege, the Court will consider that

claim in that specific context.

          4. It appears to the Court that it may be possible for plaintiffs procedural due process

claims to be adjudicated by way of summary judgment motions; and that the adjudication of

those claimsmay eliminate the need, in whole or in part, to adjudicate the balance of plaintiff's

claims.


          For the above reasons, it is hereby

          ORDERED that Defendants' Motion to Dismiss [Doc. No. 104] be, and the same hereby

is, DENIED as to plaintiffs procedural due process claims, without prejudice, as stated herein;

and it is otherwise taken under advisement, pending further orders of the Court; and it is further

          ORDERED that Plaintiffs Motion to Compel [Doc. No. 91] be, and the same hereby is,

DENIED as the documents submitted pursuant to the Court's Order dated September 15, 2014,

without prejudice to its renewal based on the positions advanced by the defendants in connection

with the adjudication of plaintiffs procedural due process claims; and it is further

          ORDERED that any motions for summary judgment pertaining to plaintiff's procedural

due process claim be filed on or before December 1,2014, with oppositions and replies filed in

accordance with Local Civil Rules 7 and 56. In that regard, the parties are directed to file with

any summary judgment motions, to the maximum extent possible, stipulated facts.

          The Clerk is directed to forward copies of this Order to all counsel of record.

                                                                 c
                                                        Anthony J. yer
                                                        United States District Judge

Alexandria, Virginia
October 30,2014
